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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 LEE S. BICKLEY
   MICHAEL ANDERSON
 3 Assistant United States Attorney
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6
   Attorneys for Plaintiff
 7 United States of America

 8

 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-0210 JAM
12
                                   Plaintiff,            STIPULATION REGARDING DUE DATES FOR
13                                                       UNITED STATES’ OPPOSITION TO MOTION TO
                             v.                          DISMISS
14
     VERA KUZMENKO, et al.,                              DATE: November 18, 2014
15                                                       TIME: 9:30 a.m.
                                  Defendants.            COURT: Hon. John A. Mendez
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17
                                                  STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
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     through defendant’s counsel of record, hereby stipulate as follows:
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            1.      The defendant filed a Motion to Dismiss the Mail Fraud, Wire Fraud and Money
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     Laundering Counts (Counts 1-32) on October 8, 2014, and noticed argument on this matter for
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     November 18, 2014.
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            2.      The United States’ opposition is due on October 15, 2014, seven days after the filing of
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     defendant’s motion. The defendant’s reply is due on October 20, 2014.
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            3.      The United States represents that it needs additional time to research the issues raised in
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     the defendant’s motion. In addition, both counsel for the United States and the defendant will be out of
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     the office from October 10 through October 19, 2014. Consequently, both parties need to move the
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     dates for the opposition and reply briefs.

      STIPULATION EXTENDING TIME FOR                      1
      OPPOSITION TO MOTION TO DISMISS
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 1          4.     By this stipulation, the parties agree and stipulate and ask that the Court find the

 2 following: the time period for the United States to file its opposition to the motion to dismiss is extended

 3 until October 29, 2014. The time period for defendant Vera Kuzmenko to reply to the United States’

 4 opposition is extended to November 5, 2014.

 5          IT IS SO STIPULATED.

 6

 7
     Dated: October 8, 2014                                  BENJAMIN B. WAGNER
 8                                                           United States Attorney
 9
                                                             /s/ LEE S. BICKLEY
10                                                           LEE S. BICKLEY
                                                             Assistant United States Attorney
11

12
     Dated: October 8, 2014                                  /s/ LEE S. BICKLEY FOR
13                                                           BRUCE LOCKE
14                                                           Counsel for Defendant
                                                             Vera Kuzmenko
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18                                         FINDINGS AND ORDER

19          IT IS SO FOUND AND ORDERED this 9th day of October, 2014.

20
                                                          /s/ John A. Mendez
21                                                    THE HONORABLE JOHN A. MENDEZ
                                                      UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION EXTENDING TIME FOR                     2
      OPPOSITION TO MOTION TO DISMISS
